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 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE

10   SANDHU FARM INC., a Washington
     corporation; JAGMOHAN S. SANDHU                       Case No.: 21-cv-01580
11   and KARMJIT K. SANDHU, husband and
     wife; INDERJIT SANDHU and
12   CHARMJIT SANDHU, husband and wife;
     and SHAMSHER S. SANDHU and                            NOTICE OF REMOVAL
13   DHARMVIR K. SANDHU, husband and
     wife,
14
            Plaintiffs,
15
             v.
16
     FERROSAFE, LLC, an Arizona limited liability
17   company registered to do business
     in Washington; and BNSF RAILWAY
18   COMPANY, a Delaware corporation registered
     to do business in Washington,
19
20          Defendants.
            PLEASE TAKE NOTICE that Defendant Ferrosafe, LLC (“Ferrosafe”) hereby removes
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     to this Court the State Court Action described below and, in support of this Notice, shows the
22
     Court as follows:
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            1.      Intradistrict Assignment: This matter is being removed to Western District at
24
     Seattle per LCR 3(e)(1) and Plaintiffs’ Complaint because at least one Plaintiff is a resident of
25

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                                                                               LAW OFFICES OF
      NOTICE OF REMOVAL - 1                                                 COZEN O’CONNOR
                                                                         A PROFESSIONAL CORPORATION
                                                                               999 THIRD AVENUE
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                                                                          SEATTLE, W ASHINGTON 98104
                                                                               (206) 340-1000
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 1   Skagit County, and the incident giving rise to Plaintiffs’ claim of injury took place in Skagit

 2   County.

 3          2.      State Court Action: Ferrosafe is a defendant in a civil action filed in the Superior

 4   Court of Washington, in and for Skagit County, captioned, Sandhu Farm Inc. et al. v. Ferrosafe,

 5   LLC, et al., Cause No. 21-2-00607-29 (the “State Court Action”).

 6          3.      Commencement of State Court Action: On or about October 15, 2021, Plaintiffs

 7   filed their Complaint in the Skagit County Superior Court. An Amended Complaint was filed on

 8   November 22, 2021. A copy of the Amended Complaint is filed contemporaneously with this

 9   notice, pursuant to LCR 101. This Notice of Removal is timely, in that it is being filed within 30

10   days of the dates on which Ferrosafe was served with the Complaint, October 25, 2021. To date,

11   Ferrosafe has only filed its Notice of Appearance in the State Court Action.

12          4.      Diversity of Citizenship is Basis for Federal Court Jurisdiction: This dispute

13   between Plaintiffs and Defendants is a controversy between citizens of different states and nations,

14   as set forth below:

15          a. Plaintiff Sandhu Farms, Inc. is a Washington Corporation with its principal place of

16               business in Bow, Washington.

17          b. Plaintiffs Jagmohan S. Sandhu, Karmjit K. Sandhu, Inderjit Sandhu, Charmjit

18               Sandhu, Shamsher S. Sandhu, Dharmvir K. Sandhu are each citizens of British

19               Columbia, Canada.

20          c. Defendant Ferrosafe is, and at all material times has been, a corporation organized

21               and existing under the laws of the State of Arizona, with a principal place of

22               business in Auburn, Alabama.

23          d. Defendant BNSF Railway Company (“BNSF”) is, and at all material times has

24               been, a corporation organized and existing under the laws of the State of Delaware,

25               with a principal place of business in Fort Worth, Texas.

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                                                                                  LAW OFFICES OF
      NOTICE OF REMOVAL - 2                                                    COZEN O’CONNOR
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                  Case 2:21-cv-01580 Document 1 Filed 11/23/21 Page 3 of 5




 1          5.      Nature and Description of Case: The above-entitled action is a civil action arising

 2   under Washington law, seeking damages for a claim of injury to property, trespass, nuisance,

 3   breach of contract, and seeking a permanent injunction over railroad operations.

 4          6.      Amount in Controversy: The amount in controversy is not expressly set forth in

 5   Plaintiffs’ Amended Complaint. However, Plaintiffs’ claims for damages include damages for

 6   “lost production value of the injured blueberry plants, and non-economic damages, including,

 7   but not limited to, emotional distress damages, and further entitled to have all such damages

 8   trebled based upon the willful acts of Ferrosafe, all of which were not casual or involuntary,” in

 9   addition to attorney’s costs and fees. Plaintiffs are claiming damage to their crops over the

10   course of multiple years, and seeking treble damages of the same. Pursuant to LCR 101,

11   Ferrosafe has a good faith belief that the Plaintiffs are seeking damages in excess of the

12   jurisdictional threshold amount of $75,000.00.

13          7.      Applicable Statutes: This is a civil action over which this Court has original

14   jurisdiction pursuant to 28 U.S.C. § 1332, and the action is removable pursuant to 28 U.S.C.

15   § 1441(b).

16          8.      Joinder by All Defendants: Pursuant to 28 U.S.C. § 1446(b)(2)(A), all defendants

17   who have been properly joined and served hereby join in or consent to the removal of the action.

18   Pursuant to 28 U.S.C. § 1441(b)(1), in determining whether a civil action is removable on the

19   basis of the jurisdiction under section 1332(a) of this title, the citizenship of defendants sued

20   under fictitious names shall be disregarded.

21          9.      Concurrent Notice to State Court: Ferrosafe is concurrently filing a copy of this

22   Notice of Removal with the Clerk of the Skagit County Superior Court, pursuant to 28 U.S.C. §

23   1446(d).

24          WHEREFORE, Defendant Ferrosafe prays that this action be removed to the United

25   States District Court for the Western District of Washington in Seattle.

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                                                                                LAW OFFICES OF
      NOTICE OF REMOVAL - 3                                                  COZEN O’CONNOR
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             Case 2:21-cv-01580 Document 1 Filed 11/23/21 Page 4 of 5




 1        DATED:       November 23, 2021.

 2                                          COZEN O’CONNOR
 3
                                             /s/ J.C. Ditzler
 4                                          J.C. Ditzler, WSBA No. 19209
                                            999 Third Avenue, Suite 1900
 5                                          Seattle, Washington 98104
                                            jditzler@cozen.com
 6
                                            /s/ Robert D. Lee
 7                                          Robert D. Lee, WSBA No. 46682
                                            999 Third Avenue, Suite 1900
 8                                          Seattle, Washington 98104
                                            rlee@cozen.com
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                                                                      LAW OFFICES OF
     NOTICE OF REMOVAL - 4                                         COZEN O’CONNOR
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                                                                      (206) 340-1000
                  Case 2:21-cv-01580 Document 1 Filed 11/23/21 Page 5 of 5




 1                                    CERTIFICATE OF SERVICE

 2           I hereby certify that on the date below, the foregoing was filed with the Clerk of the

 3   Court using the CM/ECF system which will send notification of such filing to the following:

 4    Mark J. Lee, WSBA #19339                         Michael Chait, WSBA #48842
      Haylee J. Hurst, WSBA #51406                     Montgomery Scarp & Chait PLLC
 5    Elizabeth Slattery, WSBA #56349                  17600 Vashon Hwy. Suite 105
      Wolf & Lee, LP                                   P.O. Box 1977
 6    230 E. Champion St.                              Vashon, WA 98070
      Bellingham, WA 98225                             P: (206) 625-1801
 7    P: (360) 676-0306                                mike@montgomeryscarp.com
 8
      mark@bellinghamlegal.com                         Attorney for BNSF Railway Company.
      haylee@bellinghamlegal.com
      elizabeth@bellinghamlegal.com
 9
      Attorneys for Plaintiffs
10

11           DATED:            November 23, 2021.

12                                                  /s/ Jan Young
                                                    Jan Young, Legal Assistant
13

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                                                                                 LAW OFFICES OF
      NOTICE OF REMOVAL - 5                                                  COZEN O’CONNOR
                                                                          A PROFESSIONAL CORPORATION
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